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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                 CHARLESTON DIVISION

 MICFO, LLC,                                      )   Civil Action No. 2:18-cv-01653-DCN
                                                  )
                                     Plaintiff,   )
                                                  )
                 vs.                              )    PLAINTIFF’S ANSWERS TO LOCAL
                                                  )     RULE 26.01 INTERROGATORIES
 ERINN LARKIN and VICTORIA                        )
 LATHAM,                                          )
                                                  )
                                 Defendants.      )
                                                  )

       Plaintiff Micfo, LLC (“Micfo”), by and through its undersigned counsel, submits the

following answers to the interrogatories set forth in Local Civil Rule 26.01, D.S.C.

       (A)     State the full name, address and telephone number of all persons or legal entities

who may have a subrogation interest in each claim and state the basis and extent of that interest.

       ANSWER: Micfo is unaware of any persons or legal entities who may have a subrogation

interest in any of the claims.


       (B)     As to each claim, state whether it should be tried jury or nonjury and why.

       ANSWER: Micfo’s claims for injunctive relief and specific performance should be tried

by the judge alone. Micfo’s claims for damages should be tried by a jury.


       (C)     State whether the party submitting these responses is a publicly-owned company

and separately identify: (1) any parent corporation and any publicly-held corporation owning ten

percent (10%) or more of the party’s stock; (2) each publicly-owned company of which it is a

parent; and (3) each publicly owned company in which the party owns ten percent or more of the

outstanding shares.

       ANSWER: Micfo, a limited liability company, is not a publicly-owned company.
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                (1)       Micfo has no parent corporation and no publicly-held corporation owns
                          10% or more of Micfo.

                (2)       Micfo is not a parent company to any publicly-owned company.

                (3)       Micfo does not own 10% or more of the outstanding shares of any publicly-
                          owned company.


        (D)     State the basis for asserting the claim in the division in which it was filed.

        ANSWER: Micfo filed this action in the Charleston Division because the events giving

rise to this action occurred in this Division and, upon information and belief, both defendants reside

in this Division.


        (E)     Is this action related in whole or in part to another matter filed in this District,

whether civil or criminal? If so, provide: (1) a short caption and the full case number of the

related action; (2) an explanation of how the matters are related; and (3) a statement of the status

of the related action.

        ANSWER: Micfo is not aware of any other matters filed in this District that may be

related to this action.




                              [SIGNATURE ON FOLLOWING PAGE]


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                              NELSON MULLINS RILEY & SCARBOROUGH LLP

                              By: /s/ MERRITT G. ABNEY
                                 Merritt G. Abney
                                 Federal Bar No. 9413
                                 E-Mail: merritt.abney@nelsonmullins.com
                                 John C. McElwaine
                                 Federal Bar No. 6710
                                 E-Mail: john.mcelwaine@nelsonmullins.com
                                 M. Kathleen McTighe Mellen
                                 Federal Bar No. 11652
                                 E-Mail: katie.mellen@nelsonmullins.com
                                 151 Meeting Street / Sixth Floor
                                 Post Office Box 1806 (29402-1806)
                                 Charleston, SC 29401-2239
                                 (843) 853-5200

                              Attorneys for Micfo, LLC

Charleston, South Carolina
June 15, 2018




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